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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION
MISTY HIXSON, §
Plaintii?, §
v. § Case No. 2113»€\/~0059-5
THE CITY OF PERRY.TON, ET AL §
Defendants §

AGREED ORDER OF DISMISSAL
Before the Court is the parties’ Stipu!ation of Dismissal. This action is dismissed without
prejudice. Costs are taxed against the parties incurring same.

IT IS SO ORDERBD. w
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SIGNED this day of 013.

   

HON B E LOU R()BIN N

UNITED sTA s omch mae
AGREED:
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Rya y Lee Ann Reno
ATTORNEVS F n PLMNT|FF A.TroRNEY FOR DEFEN DANTS

Agreed Ordcr of Dismissal P::ge l Ag,rced Ordcr of Dismi$sal.DOC 8801.\54

 

